Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 1 of 6 PagelD #:868

IN THE.UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARIS SISWANTO, Personal Representative ) |
of the Heirs of Mrs, Susiyah, deceased, etal., )
| Plaintiffs, No, 15-cv-5486
v. Hon. John Robert Blakey .
AIRBUS, S.A\S., et al., |
Defendants.

DECLARATION OF STEVEN L. BOLDT
ON BEHALF OF HONEYWELL INTERNATIONAL INC, —

I, Steven L. Boldt, hereby declare and state as follows:

1. I am an attorney with the law firm of ADLER MURPHY & McCQUILLEN LLP. | am
licensed to practice law in the State of Illinois, admitted to practice before the United States
District Court for the Northern District of Illinois (the “Court”), and one of the attorneys of
record for Defendant Honeywell International Inc. (“Honeywell”) in the above-captioned matter.
dl have personal knowledge of the matters stated below and, if called as a witness, could
competently testify thereto. —

| 2. This declaration is submitted in support of Defendants’ Joint Motion to Dismiss
for Forum Non Conveniens.. |

3. If the above-captioned matter is dismissed on grounds of forum non conveniens, 7
‘Honeywell will stipulate to the following conditions as part of the dismissal order entered by the
Court: -

| A. | Honeywell consents to the jurisdiction of the Indonesian courts, if the above-

captioned action is refiled by Plaintiffs in Indonesia within one year following
entry of the dismissal order; . —_ Tt

 
Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 2 of 6 PagelD #:869 |

B. Honeywell agrees to accept service of process from the Indonesian courts, if the
above-captioned action is refiled by Plaintiffs in Indonesia within one year
following entry of the dismissal order;

Cc. Honeywell agrees to toll any statute of limitations that might apply to any cause

of action that was timely filed in this Court that is later refiled by Plaintiffs in the

Indonesian courts, if the above-captioned action is refiled by Plaintiffs in
Indonesia within one year following entry of the dismissal order;

D. Honeywell agrees to produce and make available in the action refiled by Plaintiffs

~ in the Indonesian courts all employees, witnesses and documents in its possession,

- custody, or control in the United States that the Indonesian courts deem relevant

and responsive to the resolution of any issue before it in accordance with the

Indonesian courts’ local procedures, if the above-captioned action is refiled. by
Plaintiffs in Indonesia within one year following entry of the dismissal order; and

E, Honeywell agrees to pay or cause to be paid any judgment awarded against it in |
an Indonesian court subject to the Indonesian courts’ rules on finality and the
tight of appeal, if the above-captioned action is refiled by Plaintiffs in Indonesia
within one year following entry of the dismissal order.

_ FURTHER AFFIANT SAYETH NAUGHT.

[declare under penalty of perjury that the foregoing is true and correct.

. Executed February 26, 2016

 

 

Steven L.
& MCQUILLEN LLP
Attorneys for Honeywell International Inc.

 
1451498.1

Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 3 of 6 PagelD #:870

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARIS SISWANTO, Personal Representative )
of the Heirs of Mrs. Susiyah, deceased, etal., )}
Plaintiffs, No. 15-cv-5486
Vv. Hon. John Robert Blakey
AIRBUS, S.A.5., et al.,
Defendants.

DECLARATION OF ROBERTA MIRANDA
ON BEHALF OF GOODRICH CORP.

I, Roberta Miranda, hereby declare and state as follows:

1. I am an attorney with the law firm of FITZPATRICK & HUNT, TUCKER, PAGANO,
AUBERT, LLP. I am licensed to practice law in the State of New York, admitted to practice
before the United States District Court for the Northern District of Illinois (the Court”), and one
of the attorneys of record for Defendant Goodrich Corp. (“Goodrich”) in the above-captioned
matter. I have personal knowledge of the matters stated below and, if called as a witness, could
competently testify thereto.

2. This declaration is submitted in support of Defendants’ Joint Motion to Dismiss
for Forum Non Conveniens.

3. If the above-captioned matter is dismissed on grounds of forum non conveniens,
Goodrich will stipulate to the following conditions as part of the dismissal order entered by the
Court:

A. Goodrich consents to the jurisdiction of the Indonesian courts, if the above-

captioned action is refiled by Plaintiffs in Indonesia within one year following
entry of the dismissal order;
1451498.1

Executed February 26, 2016 i

Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 4 of 6 PagelD #:871

Goodrich agrees to accept service of process from the Indonesian courts, if the
above-captioned action is refiled by Plaintiffs in Indonesia within one year
following entry of the dismissal order;

Goodrich agrees to toll any statute of limitations that might apply to any cause of
action that was timely filed in this Court that is later refiled by Plaintiffs in the
Indonesian courts, if the above-captioned action is refiled by Plaintiffs in
Indonesia within one year following entry of the dismissal order;

Goodrich agrees to produce and make available in the action refiled by Plaintiffs
in the Indonesian courts all employees, witnesses and documents in its possession,
custody, or control in the United States that the Indonesian courts deem relevant
and responsive to the resolution of any issue before it in accordance with the
Indonesian courts’ local procedures, if the above-captioned action is refiled by
Plaintiffs in Indonesia within one year following entry of the dismissal order; and

Goodrich agrees to pay or cause to be paid any judgment awarded against it in an
Indonesian court subject to the Indonesian courts’ rules on finality and the right of
appeal, if the above-captioned action is refiled by Plaintiffs in Indonesia within
one year following entry of the dismissal order.

FURTHER AFFIANT SAYETH NAUGHT.

I declare under penalty of perjury that the foregoing is true and correct.

 

Roberta Miranda

FITZPATRICK & HUNT,

TUCKER, PAGANO, AUBERT, LLP
Attorneys for Goodrich Corp.
Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 5 of 6 PagelD #:872

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARIS SISWANTO, Personal Representative _)
of the Heirs of Mrs. Susiyah, deceased, etal., )
Plaintiffs, 5 No, 15-cv-5486
v. Hon. John Robert Blakey
AIRBUS, S.A.S., et al., 5
Defendants.

DECLARATION OF JOHN MAGGIO
ON BEHALF OF DORIC CORPORATION

I, John Maggio, hereby declare and state as follows:

1, I am an attorney with the law firm of Condon & Forsyth LLP. I am licensed to
practice law in the State of New York, admitted to practice before the United States District,
Court for the Northern District of Illinois (the “Court”), and one of the attorneys of record for
Defendant Doric Corporation (“Doric”) in the above-captioned matter. I have personal
knowledge of the matters stated below and, if called as a witness, could competently testify
thereto.

2. This declaration is submitted in support of Defendants’ Joint Motion to Dismiss
for Forum Non Conveniens.

3. If the above-captioned matter is dismissed on grounds of forum non conveniens,
Doric will stipulate to the following conditions as part of the dismissal order entered by the
Court: |

A. Doric consents to the jurisdiction of the Indonesian courts, if the above-captioned

action is refiled by Plaintiffs in Indonesia within one year following entry of the
dismissal order;
Case: 1:15-cv-05486 Document #: 78-5 Filed: 02/26/16 Page 6 of 6 PagelD #:873

B. Doric agrees to accept service of process from the Indonesian courts, if the above-
captioned action is refiled by Plaintiffs in Indonesia within one year following
entry of the dismissal order;

Cc, Doric agrees to toll any statute of limitations that might apply to any cause of
action that was timely filed in this Court that is later refiled by Plaintiffs in the
Indonesian courts, if the above-captioned action is refiled by Plaintiffs in
Indonesia within one year following entry of the dismissal order;

D. Doric agrees to produce and make available in the action refiled by Plaintiffs in
the Indonesian courts all employees, witnesses and documents in its possession,
custody, or control in the United States that the Indonesian courts deem relevant
and responsive to the resolution of any issue before it in accordance with the
Indonesian courts’ local procedures, if the above-captioned action is refiled by
Plaintiffs in Indonesia within one year following entry of the dismissal order; and

E. Doric agrees to pay or cause to be paid any judgment awarded against it in an
Indonesian court subject to the Indonesian courts’ rules on finality and the right of
appeal, if the above-captioned action is refiled by Plaintiffs in Indonesia within
one year following entry of the dismissal order.

FURTHER AFFIANT SAYETH NAUGHT.

I declare under penalty of perjury that the foregoing is true and correct.

Executed February 26, 2016

John/Maggio *
CONDON & FORSYTH LLP
Attorneys for Doric Corporation
